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UNITED STATES DISTRICT COURT                                              DATE FILED: 10/12/2021
SOUTHERN DISTRICT OF NEW YORK
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 MICHAEL KANE, WILLIAM CASTRO,                                  :
 MARGARET CHU, HEATHER CLARK,                                   :
 STEPHANIE DI CAPUA, ROBERT                                     :
 GLADDING, NWAKAEGO NWAIFEJOKWU, :
 INGRID ROMERO, TRINIDAD SMITH,                                 : 21-CV-7863 (VEC)
 AMARYLLIS RUIZ-TORO,                                           :
                                              Plaintiffs,       :     ORDER
                            -against-                           :
                                                                :
 BILL DE BLASIO, IN HIS OFFICIAL                                :
 CAPACITY AS MAYOR OF THE CITY OF                               :
 NEW YORK; DAVID CHOKSHI, IN HIS                                :
 OFFICIAL CAPACITY OF HEALTH                                    :
 COMMISSIONER OF THE CITY OF NEW                                :
 YORK; NEW YORK CITY DEPARTMENT OF :
 EDUCATION,                                                     :
                                              Defendants. :
 -------------------------------------------------------------- X

VALERIE CAPRONI, United States District Judge:

       WHEREAS on October 12, 2021, the parties appeared for a hearing on Plaintiffs’

application for a preliminary injunction;

       IT IS HEREBY ORDERED that for the reasons stated on the record, Plaintiffs’

application for a preliminary injunction is DENIED.

       IT IS FURTHER ORDERED that the parties must submit supplemental briefing on the

question of whether Plaintiffs have standing to bring as-applied challenges to the DOE Vaccine

Mandate as applied by the Arbitration Awards. Supplemental briefing must address, at a

minimum, whether, when there is no claim that the union breached its duty of fair representation,

an individual employee represented by a union has standing to challenge a process dictated by an

arbitrator following an arbitration proceeding to which the union and the employer were the only

parties. The briefing must also address whether Plaintiffs’ as-applied challenges are ripe for
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judicial review, including whether Plaintiffs are required to bring proceedings pursuant to Article

75 of the New York Civil Practice Law & Rules. The parties’ briefs are not limited to those two

topics; the Court acknowledges that there are likely additional issues that pertain to the question

of whether Plaintiffs have standing to bring their as-applied challenges.

       IT IS FURTHER ORDERED that Plaintiffs’ supplemental brief is due no later than

Tuesday, October 26, 2021, and must not exceed 25 double spaced pages; Defendants’ response

brief, also limited to 25 double spaced pages, is due no later than Tuesday, November 9, 2021,

and Plaintiffs’ reply, limited to 10 double spaced pages, is due no later than Tuesday, November

16, 2021. Following a review of the parties’ papers, the Court will determine whether a hearing

is necessary.

       IT IS FURTHER ORDERED that Plaintiffs’ counsel, Mary Holland, must file a notice of

appearance on the docket by no later than Friday, October 15, 2021.

       IT IS FURTHER ORDERED that all other deadlines in this case are adjourned sine die,

including Defendants’ time to answer, move, or otherwise respond to the Complaint. The initial

pre-trial conference, currently scheduled for November 12, 2021 at 2:00 P.M. and the November

4, 2021 deadline to file joint pre-conference submissions are CANCELED.



SO ORDERED.
                                                          ________________________
Date: October 12, 2021                                       VALERIE CAPRONI
      New York, New York                                   United States District Judge




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